                      Case 1:21-mj-00233-RMM Document 1 Filed 02/13/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
                                                                     )      Case No.
                   Clayton Ray Mullins
                                                                     )
                     DOB: XXXXXX                                     )
                                                                     )
                                                                     )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                              in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

            Code Section                                                      Offense Description
        18 U.S.C. § 111(a)(1) - Assaulting, Resisting, or Impeding Certain Officers,
        18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement During Civil Disorder,
        18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without
        Lawful Authority,
        18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds,
        18 U.S.C. § 1752(a)(4) - Engaging in Physical Violence in a Restricted Building or Grounds,
        40 U.S.C. § 5104(e)(2)(F) - Violent Entry and Disorderly Conduct on Capitol Grounds.
         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         u Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                                     Valyncia Joachim, Special Agent
                                                                                               Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH

Date:             02/13/2021
                                                                                                  Judge’s signature

City and state:                         :DVKLQJWRQ'&                      Robin M. Meriweather, U.S. Magistrate Judge
                                                                                               Printed name and title
